     Case 5:07-cr-00017-DCB-FKB            Document 221        Filed 06/26/08      Page 1 of 1




                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                                 WESTERN DIVISION


UNITED STATES OF AMERICA


V.                                                     CRIMINAL NO. 5:07cr17DCB-JCS-02


CHARLES EDWARD PRICE

                                     ORDER OF DISMISSAL

       Pursuant to Rule 48(a) of the Federal Rules of Criminal Procedure, and by leave of Court

endorsed herein, the United States Attorney for the Southern District of Mississippi hereby dismisses

Count 13 of the Criminal Indictment against CHARLES EDWARD PRICE without prejudice.

                                                       DUNN LAMPTON
                                                       United States Attorney

                                              By:

                                                       SANDRA MOSES
                                                       Assistant U.S. Attorney
                                                       GA Bar No. 283815


       Leave of Court is granted for the filing of the foregoing dismissal.


      ORDERED this        25th    day of June, 2008.


                                                          s/ David Bramlette
                                                       UNITED STATES DISTRICT JUDGE
